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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                             CRIMINAL ACTION NO. 09-00279-10

 VERSUS                                               JUDGE S. MAURICE HICKS, JR.

 BRIAN MOSS                                           MAGISTRATE JUDGE HORNSBY

                                   MEMORANDUM ORDER

         Before the Court is Petitioner Brian Moss’s (“Moss”) Motion For Appointment of

 Counsel (In light of Retroactive Amendment 3B1.2) (“Amendment 794”) (Record Document

 816). Moss seeks appointment of counsel “in light of the ‘Minor Role’ 3B1.2 Amendment.”

 Id. at 1. He contends that the Amendment “was also made retroactive, because it is a

 clarifying amendment.” Id. He believes “he may be entitled to the retroactive application

 of 3B1.2 Amendment made retroactive by the sentencing commission.” Id. at 2.

         “Amendment 794 left the text of § 3B1.2 unchanged but made various revisions to

 the commentary.” U.S. v. Gomez-Valle, No. 15-41115, 2016 WL 3615688, at *3 (5th Cir.

 July 5, 2016). In Gomez-Valle, the Fifth Circuit addressed Amendment 794:

                 Whether Amendment 794 is substantive or clarifying is a matter of first
         impression in this circuit. The Ninth Circuit has held in a published opinion
         that Amendment 794 is clarifying and retroactive to cases on direct appeal.
         In an unpublished opinion, the Eleventh Circuit considered the
         non-exhaustive factors added by Amendment 794 to a sentence imposed
         prior to the Amendment’s effective date, noting briefly that it “consider[s]
         clarifying amendments retroactively on appeal regardless of the date of
         sentencing.” In a recent opinion, the First Circuit declined to reach the issue,
         noting that the changes effected by Amendment 794 provided no benefit to
         the defendant.

               We conclude that it is unnecessary to resolve whether Amendment
         794 was a substantive change or instead only clarifying because even if it
         were applied retroactively, it would not affect Gomez-Valle’s sentence.

 Id. at *5.
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         While the Fifth Circuit did not resolve whether Amendment 794 should be applied

 retroactively in direct appeals, the record establishes that Moss is not entitled to

 appointment of counsel as to this issue. Moss’s direct appeal was resolved years ago. In

 sum, Moss is not entitled to relief under Amendment 794, and for this reason, his request

 for appointment of counsel is DENIED.

         IT IS SO ORDERED.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 22nd day of September,

 2016.




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